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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
   E MAIL: jaygreiner@midtown.net
 5
     ATTORNEY FOR DEFENDANT
 6   KOUTKEO THI
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )                CR.-S-08-391-GEB
11                                 )
             PLAINTIFF,            )                STIPULATION AND PROPOSED ORDER
12                                 )                TO CONTINUE STATUS CONFERENCE
             v.                    )                TO DECEMBER 11, 2009
13                                 )
     KEOOUDONE N. PHAOUTHOUM, )
14   et al.,                       )
                                   )
15           DEFENDANTS.           )
     _______________________________)
16
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. Michael M. Beckwith, and defendant Keoudone N. Phaouthoum by his
19   attorney Mr. Joseph Wisemen, defendant Zi Lei, by his attorney, Mr. J. Clark Head,
20   defendant John Li, by his attorney Mr. Johnny L. Griffin, III and defendant Koutkeo
21   Thi, by her attorney Mr. James R. Greiner, hereby stipulate and agree that the status
22   conference calendared for Friday, September 25, 2009, at 9:00 a.m. before the
23   Honorable United States District Court Judge, Garland E. Burrell, Jr., may be
24   continued to Friday, December 11, 2009, at 9:00 a.m, and excluding time under
25   the Speedy Trial Act under local code T-2 for complexity (Title 18 U.S.C. section
26   3161(h)(8)(B)(ii)) and T-4, reasonable time for attorney preparation (Title 18 U.S.C.
27   section 3161(h)(8)(B)(iv)).
28                                              1
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 1         The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
 2   ensure the Court’s calendar was available for that date and the Court is available on
 3   Friday, December 11, 2009.
 4         There is no trial date set.
 5         The Court has previously made a finding that this case is complex pursuant to
 6   the Speedy Trial Act, Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2,
 7   which allowed the Court to make the finding that this case is so unusual or so
 8   complex, due to the number of defendants, the nature of the prosecution, or the
 9   existence of novel questions of fact or law, that it is unreasonable to expect adequate
10   preparation for pretrial proceedings or the trial itself within the time limits established
11   by the Speedy Trial Act. (See Docket Entries # 43, 52, 69 and 85). In addition, the
12   Court previously found from the record made with factual support, that time is to be
13   excluded under local code T-4, that time is to be excluded for the reasonable time
14   necessary for effective preparation by defense counsel and Title 18 U.S.C. section
15   3161(h)(8)(B)(iv), of the speedy trial act. (See Docket Entries # 43, 52, 69 and 85)
16                        PROCEDURAL STATUS OF THE CASE
17         On August 11, 2008, the government filed a criminal complaint. (See Docket
18   Entry #1). On August 28, 2008, the government filed a six (6) count Indictment
19   against the six (6) defendants. (See Docket Entry # 40)
20         On August 28, 2008, five (5) of the defendants were arraigned on the six (6)
21   count Indictment and a status conference was scheduled for November 7, 2008. (See
22   Docket Entry # 43)The Court found that this case is complex pursuant to the Speedy
23   Trial Act, Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2, which
24   allowed the Court to make the finding that this case is so unusual or so complex, due
25   to the number of defendants, the nature of the prosecution, or the existence of novel
26   questions of fact or law, that it is unreasonable to expect adequate preparation for
27   pretrial proceedings or the trial itself within the time limits established by the Speedy
28                                               2
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 1   Trial Act. (See Docket Entry 43). In addition, the Court previously found from the
 2   record made with factual support, that time is to be excluded under local code T-4,
 3   that time is to be excluded for the reasonable time necessary for effective preparation
 4   by defense counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the speedy trial
 5   act. Time was excluded under the Speedy Trial Act from August 28, 2008, to
 6   November 7, 2008. (See Docket Entry 43)
 7         On October 22, 2008, defendant De Yang (which would be the sixth defendant)
 8   was arraigned on the six (6) count Indictment. (See Docket Entry #52) The Court
 9   found that this case is complex pursuant to the Speedy Trial Act, Title 18 U.S.C.
10   section 3161(h)(8)(B)(ii) and local code T-2, which allowed the Court to make the
11   finding that this case is so unusual or so complex, due to the number of defendants,
12   the nature of the prosecution, or the existence of novel questions of fact or law, that it
13   is unreasonable to expect adequate preparation for pretrial proceedings or the trial
14   itself within the time limits established by the Speedy Trial Act. (See Docket Entry
15   43 and 52). In addition, the Court previously found from the record made with
16   factual support, that time is to be excluded under local code T-4, that time is to be
17   excluded for the reasonable time necessary for effective preparation by defense
18   counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the speedy trial act. Time
19   was excluded under the Speedy Trial Act from October 22, 2008, to November 7,
20   2008. (See Docket Entry 43 and 52)
21         On November 7, 2008 (See Docket # 59), the Court signed an order to continue
22   the case for a further status conference to January 16, 2009, excluding time under the
23   Speedy Trial Act under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2,
24   which allowed the Court to make the finding that this case is so unusual or so
25   complex, due to the number of defendants, the nature of the prosecution, or the
26   existence of novel questions of fact or law, that it is unreasonable to expect adequate
27   preparation for pretrial proceedings or the trial itself within the time limits established
28                                               3
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 1   by the Speedy Trial Act. (See Docket Entry # 59). In addition, the Court found from
 2   the record made with factual support, that time is to be excluded under local code T-
 3   4, that time is to be excluded for the reasonable time necessary for effective
 4   preparation by defense counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the
 5   speedy trial act (See Docket Entry # 59).
 6         On January 16, 2009, a status conference was held in open Court and the
 7   parties requested a further status conference on April 17, 2009, excluding time under
 8   the Speedy Trial Act under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code
 9   T-2, which allowed the Court to make the finding that this case is so unusual or so
10   complex, due to the number of defendants, the nature of the prosecution, or the
11   existence of novel questions of fact or law, that it is unreasonable to expect adequate
12   preparation for pretrial proceedings or the trial itself within the time limits established
13   by the Speedy Trial Act. (See Docket Entry # 69). In addition, the Court found from
14   the record made with factual support, that time is to be excluded under local code T-
15   4, that time is to be excluded for the reasonable time necessary for effective
16   preparation by defense counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the
17   speedy trial act (See Docket Entry # 69).
18         On April 17, 2009, a status conference was held in open Court and the parties
19   requested a further status conference on June 19, 2009, excluding time under the
20   Speedy Trial Act under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2,
21   which allowed the Court to make the finding that this case is so unusual or so
22   complex, due to the number of defendants, the nature of the prosecution, or the
23   existence of novel questions of fact or law, that it is unreasonable to expect adequate
24   preparation for pretrial proceedings or the trial itself within the time limits established
25   by the Speedy Trial Act. (See Docket Entry # 81). In addition, the Court found from
26   the record made with factual support, that time is to be excluded under local code T-
27   4, that time is to be excluded for the reasonable time necessary for effective
28                                               4
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 1   preparation by defense counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the
 2   speedy trial act (See Docket Entry # 81).
 3         On June 16, 2008 (See Docket # 85), the Court signed an order to continue the
 4   case for a further status conference to September 25, 2009, excluding time under the
 5   Speedy Trial Act under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2,
 6   which allowed the Court to make the finding that this case is so unusual or so
 7   complex, due to the number of defendants, the nature of the prosecution, or the
 8   existence of novel questions of fact or law, that it is unreasonable to expect adequate
 9   preparation for pretrial proceedings or the trial itself within the time limits established
10   by the Speedy Trial Act. (See Docket Entry # 85). In addition, the Court found from
11   the record made with factual support, that time is to be excluded under local code T-
12   4, that time is to be excluded for the reasonable time necessary for effective
13   preparation by defense counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the
14   speedy trial act (See Docket Entry # 85).
15         On September 18, 2009 (See Docket Entry # 92) the Court signed a
16   substitution of attorneys appointing Mr. Joseph J. Wiseman to represent the lead
17   defendant, Mr. Keooudone Noy Phaouthoum. Other counsel have been in the case
18   over a year prior to Mr. Wiseman substituting into the case.
19                          DISCOVERY STATUS IN THE CASE
20         The government is in the process of continuing to produce discovery in this
21   case. To date, the government has produce approximately over 4,700 pages both on
22   CD’s and hard copy and approximately over 2,000 telephone calls of various time
23   duration. The defense is in the continuing process of reviewing this large amount of
24   discovery.
25         In addition, investigation by the defense is on going.
26         Further, the defense is continually evaluating the case in light of other
27   defendants entering into plea deals with the government.
28                                               5
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 1         In addition, the review of the over 2,000 telephone calls continues and is
 2   continually being evaluated.
 3         Finally, many of the defendants are in more than one indictment filed by the
 4   government and the complexity of multiple defendants in the multiple indictments,
 5   the complexity of the investigation based on multiple indictments, the complexity of
 6   the legal issues in the multiple indictments and the complexity of attempting to
 7   discuss with the government any type of resolution is complex due to the complexity
 8   of multiple indictments.
 9
10       SUBSTITUTION OF NEW COUNSEL FOR THE LEAD DEFENDANT
11         On September 18, 2009 (See Docket Entry # 92) the Court signed a
12   substitution of attorneys appointing Mr. Joseph J. Wiseman to represent the lead
13   defendant, Mr. Keooudone Noy Phaouthoum. Other counsel have been in the case
14   over a year prior to Mr. Wiseman substituting into the case.
15          To date, the government has produce approximately over 4,700 pages both on
16   CD’s and hard copy and approximately over 2,000 telephone calls of various time
17   duration. The defense is in the continuing process of reviewing this large amount of
18   discovery. Mr. Joseph J. Wiseman needs sufficient and a reasonable amount of time
19   to review the large amount of discovery, to discuss the discovery with his client, and
20   to figure out where his client is in this case.
21         In addition, Mr. Wiseman’s client, as well as others in this case, are defendants
22   in more than one Indictment, which adds to the complexity of the case, adds to the
23   need for sufficient and reasonable amount of time for attorney preparation in this
24   complex case.
25         Further, as Mr. Wiseman’s client is in multiple Indictments, Mr. Wiseman must
26   have sufficient time to formulate a investigative plan, discuss with the client what
27   investigation is needed and to then meet and confer with the investigator to start the
28                                                6
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 1   investigation of the multiple cases.
 2
 3                     SPEEDY TRIAL ACT EXCLUSION OF TIME
 4         The parties stipulate and agree that time under the Speedy Trial Act shall
 5   continue to be excluded up to and including Friday, December 11, 2009, under
 6   the Speedy Trial Act under Local Code T-2 (complexity of case) and Title 18 U.S.C.
 7   section 3161(h)(8)(B)(ii)and Local Code T-4 (time for defense counsel
 8   preparation) and Title 18 U.S.C. section 3161(h)(8)(B)(iv).
 9                                   Respectfully submitted,
                                     LAWRENCE G. BROWN
10                                   ACTING UNITED STATES ATTORNEY
11                                   /s/ Michael M. Beckwith by e mail authorization
     DATED: 9-24-09                  _____________________________________
12                                   Michael M. Beckwith
                                     ASSISTANT UNITED STATES ATTORNEY
13
     DATED: 9-24-09                  /s/ Joseph J. Wiseman by e mail authorization
14                                   ______________________________________
                                     Joseph J. Wiseman
15                                   Attorney for Defendant Keoudone N. Phaouthoum
16   DATED 9-24-09                   /s/ J. Clark Head by telephone authorization
                                      ________________________________________
17                                    J. Clark Head
                                      Attorney for Defendant Zi Lei
18
     DATED: 9-24-09                  /s/ Johnny L. Griffin, III by e mail authorization
19                                   ________________________________________
                                     Johnny L. Griffin, III
20                                   Attorney for Defendant John Li
21   DATED: 9-24-09                  /s/ James R. Greiner
                                     _______________________________________
22                                   James R. Greiner
                                     Attorney for Defendant Koutkeo Thi
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25 ///
   ///
26 ///
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 1
 2
                                        ORDER
 3
 4
 5        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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     Dated: September 24, 2009
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 9                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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                            _______________________________________
15                          GARLAND E. BURRELL, JR.
                            UNITED STATES
16                          DISTRICT COURT JUDGE
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